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 1   Tanya E. Moore, SBN 206683
     MOORE LAW FIRM, P.C.
 2   300 South First Street Ste. 342
     San Jose, California 95113
 3   Telephone (408) 298-2000
     Facsimile (408) 298-6046
 4   E-mail: service@moorelawfirm.com
             tanya@moorelawfirm.com
 5
     Attorney for Plaintiff
 6   Darren Gilbert
 7
 8                                        UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10                                              (Sacramento Division)
11
12   DARREN GILBERT,                                      ) No.
                                                          )
13                      Plaintiff,                        ) COMPLAINT ASSERTING DENIAL OF
                                                          ) RIGHT OF ACCESS UNDER THE
14            vs.                                         ) AMERICANS WITH DISABILITIES ACT
                                                          )
15   SIERRA ELM INC. dba BELL ROAD                        ) FOR INJUNCTIVE RELIEF, DAMAGES,
     CHEVRON; CHEVRON U.S.A. INC. dba                     ) ATTORNEYS’ FEES AND COSTS (ADA)
16                                                        )
     BELL ROAD CHEVRON; PROCISSI
                                                          )
17   VENTURES - BELL ROAD, LLC;                           )
                                                          )
18                      Defendants.                       )
                                                          )
19                                                        )
                                                          )
20                                                        )
21                                                   I. SUMMARY
22            1.        This is a civil rights action by plaintiff DARREN GILBERT (“Plaintiff”) for
23   discrimination at the building, structure, facility, complex, property, land, development, and/or
24   surrounding business complex known as:
25                      Bell Road Chevron
                        3005 Grass Valley Hwy
26                      Auburn, CA 95602
27                      (hereafter “the Facility”)

28            2.        Plaintiff seeks damages, injunctive and declaratory relief, attorney fees and



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 1   costs, against SIERRA ELM INC. dba BELL ROAD CHEVRON; CHEVRON U.S.A. INC.
 2   dba BELL ROAD CHEVRON; and PROCISSI VENTURES - BELL ROAD, LLC (hereinafter
 3   collectively referred to as “Defendants”), pursuant to Title III of the Americans with
 4   Disabilities Act of 1990 (42 U.S.C. §§ 12101 et seq.) (“ADA”) and related California statutes.
 5                                          II.         JURISDICTION
 6             3.       This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA
 7   claims.
 8             4.       Supplemental jurisdiction for claims brought under parallel California law –
 9   arising from the same nucleus of operative facts – is predicated on 28 U.S.C. § 1367.
10             5.       Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
11                                                III.     VENUE
12             6.       All actions complained of herein take place within the jurisdiction of the United
13   States District Court, Eastern District of California, and venue is invoked pursuant to 28 U.S.C.
14   § 1391(b), (c).
15                                                IV.     PARTIES
16             7.       Defendants own, operate, and/or lease the Facility, and consist of a person (or
17   persons), firm, and/or corporation.
18             8.       Plaintiff is substantially limited in his ability to walk, and must use a wheelchair
19   or prosthetic for mobility. Consequently, Plaintiff is “physically disabled,” as defined by all
20   applicable California and United States laws, and a member of the public whose rights are
21   protected by these laws.
22                                                 V.       FACTS
23             9.       The Facility is open to the public, intended for non-residential use, and its
24   operation affects commerce. The Facility is therefore a public accommodation as defined by
25   applicable state and federal laws.
26             10.      Plaintiff is a California resident, who regularly travels to the area where the
27   Facility is located and visited the Facility on or about March 31, 2021 to purchase gasoline for
28   his vehicle and use the restroom. During his visit to the Facility, Plaintiff encountered the



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 1   following barriers (both physical and intangible) that interfered with, if not outright denied,
 2   Plaintiff’s ability to use and enjoy the goods, services, privileges and accommodations offered
 3   at the Facility:
 4                      a)       Plaintiff wanted to park close to the store entrance so that he could go in
 5                               and use the restroom, but he could not locate any designated accessible
 6                               parking in the Facility’s parking lot. He had to park at the fuel pump and
 7                               walk across the parking lot using his prosthetic leg, which was difficult.
 8                      b)       Not only was the store entrance far away from Plaintiff’s vehicle, but the
 9                               route of travel was also excessively sloped and uneven, which made it
10                               very difficult for Plaintiff to negotiate. He was nervous that he would
11                               lose his balance and fall.
12            11.       The barriers identified in paragraph 10 herein are only those that Plaintiff is
13   presently aware of. Plaintiff is presently unaware of other barriers which may in fact exist at
14   the Facility and relate to his disabilities. Plaintiff will seek to amend this Complaint once such
15   additional barriers are identified as it is Plaintiff’s intention to have all barriers which exist at
16   the Facility and relate to his disabilities removed to afford him full and equal access.
17            12.       Plaintiff was, and continues to be, deterred from visiting the Facility because
18   Plaintiff knows that the Facility’s goods, services, facilities, privileges, advantages, and
19   accommodations were and are unavailable to Plaintiff due to Plaintiff’s physical disabilities.
20   Plaintiff enjoys the goods and services offered at the Facility, and will return to the Facility
21   once the barriers are removed.
22            13.       Defendants knew, or should have known, that these elements and areas of the
23   Facility were inaccessible, violate state and federal law, and interfere with (or deny) access to
24   the physically disabled. Moreover, Defendants have the financial resources to remove these
25   barriers from the Facility (without much difficulty or expense), and make the Facility
26   accessible to the physically disabled. To date, however, Defendants refuse to either remove
27   those barriers or seek an unreasonable hardship exemption to excuse non-compliance.
28   //



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 1            14.       At all relevant times, Defendants have possessed and enjoyed sufficient control
 2   and authority to modify the Facility to remove impediments to wheelchair access and to
 3   comply with the 1991 ADA Accessibility Guidelines and/or the 2010 ADA Standards for
 4   Accessible Design. Defendants have not removed such impediments and have not modified the
 5   Facility to conform to accessibility standards. Defendants have intentionally maintained the
 6   Facility in its current condition and have intentionally refrained from altering the Facility so
 7   that it complies with the accessibility standards.
 8            15.       Plaintiff further alleges that the (continued) presence of barriers at the Facility is
 9   so obvious as to establish Defendants’ discriminatory intent. On information and belief,
10   Plaintiff avers that evidence of this discriminatory intent includes Defendants’ refusal to adhere
11   to relevant building standards; disregard for the building plans and permits issued for the
12   Facility; conscientious decision to maintain the architectural layout (as it currently exists) at the
13   Facility; decision not to remove barriers from the Facility; and allowance that Defendants’
14   property continues to exist in its non-compliant state. Plaintiff further alleges, on information
15   and belief, that the Facility is not in the midst of a remodel, and that the barriers present at the
16   Facility are not isolated or temporary interruptions in access due to maintenance or repairs.
17                                              VI.    FIRST CLAIM
18                                        Americans with Disabilities Act of 1990
19                                    Denial of “Full and Equal” Enjoyment and Use
20            16.       Plaintiff re-pleads and incorporates by reference the allegations contained in
21   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
22            17.       Title III of the ADA holds as a “general rule” that no individual shall be
23   discriminated against on the basis of disability in the full and equal enjoyment (or use) of
24   goods, services, facilities, privileges, and accommodations offered by any person who owns,
25   operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
26            18.       Defendants discriminated against Plaintiff by denying Plaintiff “full and equal
27   enjoyment” and use of the goods, services, facilities, privileges and accommodations of the
28   Facility during each visit and each incident of deterrence.



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 1                         Failure to Remove Architectural Barriers in an Existing Facility
 2            19.       The ADA specifically prohibits failing to remove architectural barriers, which
 3   are structural in nature, in existing facilities where such removal is readily achievable. 42
 4   U.S.C. § 12182(b)(2)(A)(iv).
 5            20.       When an entity can demonstrate that removal of a barrier is not readily
 6   achievable, a failure to make goods, services, facilities, or accommodations available through
 7   alternative methods is also specifically prohibited if these methods are readily achievable. Id.
 8   § 12182(b)(2)(A)(v).
 9            21.       Here, Plaintiff alleges that Defendants can easily remove the architectural
10   barriers at the Facility without much difficulty or expense, that the cost of removing the
11   architectural barriers does not exceed the benefits under the particular circumstances, and that
12   Defendants violated the ADA by failing to remove those barriers, when it was readily
13   achievable to do so.
14            22.       In the alternative, if it was not “readily achievable” for Defendants to remove
15   the Facility’s barriers, then Defendants violated the ADA by failing to make the required
16   services available through alternative methods, which are readily achievable.
17                                  Failure to Design and Construct an Accessible Facility
18            23.       Plaintiff alleges on information and belief that the Facility was designed and
19   constructed (or both) after January 26, 1993 – independently triggering access requirements
20   under Title III of the ADA.
21            24.       The ADA also prohibits designing and constructing facilities for first occupancy
22   after January 26, 1993, that aren’t readily accessible to, and usable by, individuals with
23   disabilities when it was structurally practicable to do so. 42 U.S.C. § 12183(a)(1).
24            25.       Here, Defendants violated the ADA by designing and constructing (or both) the
25   Facility in a manner that was not readily accessible to the physically disabled public –
26   including Plaintiff – when it was structurally practical to do so.1
27
     1
      Nothing within this Complaint should be construed as an allegation that Plaintiff is bringing this action as a
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     private attorney general under either state or federal statutes.




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 1                                        Failure to Make an Altered Facility Accessible
 2              26.     Plaintiff alleges on information and belief that the Facility was modified after
 3   January 26, 1993, independently triggering access requirements under the ADA.
 4              27.     The ADA also requires that facilities altered in a manner that affects (or could
 5   affect) its usability must be made readily accessible to individuals with disabilities to the
 6   maximum extent feasible. 42 U.S.C. § 12183(a)(2). Altering an area that contains a facility’s
 7   primary function also requires making the paths of travel, bathrooms, telephones, and drinking
 8   fountains serving that area accessible to the maximum extent feasible. Id.
 9              28.     Here, Defendants altered the Facility in a manner that violated the ADA and
10   was not readily accessible to the physically disabled public – including Plaintiff – to the
11   maximum extent feasible.
12                                    Failure to Modify Existing Policies and Procedures
13              29.     The ADA also requires reasonable modifications in policies, practices, or
14   procedures, when necessary to afford such goods, services, facilities, or accommodations to
15   individuals with disabilities, unless the entity can demonstrate that making such modifications
16   would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).
17              30.     Here, Defendants violated the ADA by failing to make reasonable modifications
18   in policies, practices, or procedures at the Facility, when these modifications were necessary to
19   afford (and would not fundamentally alter the nature of) these goods, services, facilities, or
20   accommodations.
21                                           Failure to Maintain Accessible Features
22              31.     Defendants additionally violated the ADA by failing to maintain in operable
23   working condition those features of the Facility that are required to be readily accessible to and
24   usable by persons with disabilities.
25              32.     Such failure by Defendants to maintain the Facility in an accessible condition
26   was not an isolated or temporary interruption in service or access due to maintenance or
27   repairs.
28   //



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 1            33.       Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney
 2   fees, costs, legal expense) for these aforementioned violations. 42 U.S.C. § 12205.
 3                                          VII.    SECOND CLAIM
 4                                                  Unruh Act
 5            34.       Plaintiff re-pleads and incorporates by reference the allegations contained in
 6   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
 7            35.       California Civil Code § 51 states, in part, that: All persons within the
 8   jurisdiction of this state are entitled to the full and equal accommodations, advantages,
 9   facilities, privileges, or services in all business establishments of every kind whatsoever.
10            36.       California Civil Code § 51.5 also states, in part that: No business establishment
11   of any kind whatsoever shall discriminate against any person in this state because of the
12   disability of the person.
13            37.       California Civil Code § 51(f) specifically incorporates (by reference) an
14   individual’s rights under the ADA into the Unruh Act.
15            38.       Defendants’ aforementioned acts and omissions denied the physically disabled
16   public – including Plaintiff – full and equal accommodations, advantages, facilities, privileges
17   and services in a business establishment (because of their physical disability).
18            39.       These acts and omissions (including the ones that violate the ADA) denied,
19   aided or incited a denial, or discriminated against Plaintiff by violating the Unruh Act.
20            40.       Plaintiff was damaged by Defendants’ wrongful conduct, and seeks statutory
21   minimum damages of $4,000 for each offense.
22            41.       Plaintiff also seeks to enjoin Defendants from violating the Unruh Act (and
23   ADA), and recover reasonable attorneys’ fees and costs incurred under California Civil Code
24   § 52(a).
25                                            VIII. THIRD CLAIM
26                             Denial of Full and Equal Access to Public Facilities
27            42.       Plaintiff re-pleads and incorporates by reference the allegations contained in
28   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.



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 1              43.      Health and Safety Code § 19955(a) states, in part, that: California public
 2   accommodations or facilities (built with private funds) shall adhere to the provisions of
 3   Government Code § 4450.
 4              44.      Health and Safety Code § 19959 states, in part, that: Every existing (non-
 5   exempt) public accommodation constructed prior to July 1, 1970, which is altered or
 6   structurally repaired, is required to comply with this chapter.
 7              45.      Plaintiff alleges the Facility is a public accommodation constructed, altered, or
 8   repaired in a manner that violates Part 5.5 of the Health and Safety Code or Government Code
 9   § 4450 (or both), and that the Facility was not exempt under Health and Safety Code § 19956.
10              46.      Defendants’ non-compliance with these requirements at the Facility aggrieved
11   (or potentially aggrieved) Plaintiff and other persons with physical disabilities. Accordingly,
12   Plaintiff seeks injunctive relief and attorney fees pursuant to Health and Safety Code § 19953.
13                                          IX.      PRAYER FOR RELIEF
14              WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, for:
15              1.       Injunctive relief, preventive relief, or any other relief the Court deems proper.
16              2.       Statutory minimum damages under section 52(a) of the California Civil Code
17                       according to proof.
18              3.       Attorneys’ fees, litigation expenses, and costs of suit.2
19              4.       Interest at the legal rate from the date of the filing of this action.
20              5.       For such other and further relief as the Court deems proper.
21
     Dated: 09/30/2021                                      MOORE LAW FIRM, P.C.
22
23                                                          /s/ Tanya E. Moore
                                                            Tanya E. Moore
24
                                                            Attorney for Plaintiff
25                                                          Darren Gilbert

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27
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     2
         This includes attorneys’ fees under California Code of Civil Procedure § 1021.5.




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 1
                                            VERIFICATION
 2
 3
              I, DARREN GILBERT, am the plaintiff in the above-entitled action. I have read the
 4
     foregoing Complaint and know the contents thereof. The same is true of my own knowledge,
 5
     except as to those matters which are therein alleged on information and belief, and as to those
 6
     matters, I believe them to be true.
 7
              I verify under penalty of perjury that the foregoing is true and correct.
 8
 9
10
     Dated:       9/30/2021                               /s/ Darren Gilbert
11                                                   Darren Gilbert
12
13           I attest that the original signature of the person whose electronic signature is shown
     above is maintained by me, and that his concurrence in the filing of this document and
14   attribution of his signature was obtained.
15                                                          /s/ Tanya E. Moore
16                                                   Tanya E. Moore
                                                     Attorney for Plaintiff,
17                                                   DARREN GILBERT
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